 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                 District of Montana

 Case number (if known):                                         Chapter    11                                                      ❑ Check if this is an
                                                                                                                                        amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                    06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              KC TRANSPORT, LLC


    2. All other names debtor used
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer
                                                            –
       Identification Number (EIN)



    4. Debtor's address                            Principal place of business                              Mailing address, if different from principal place of
                                                                                                            business

                                                   C/O KENNETH COLE WIRTH

                                                   35212 COUNTY ROAD 127
                                                   Number       Street                                      Number        Street

                                                   SIDNEY, MT 59270
                                                   City                            State     ZIP Code
                                                                                                            City                              State      ZIP Code

                                                                                                            Location of principal assets, if different from principal
                                                   RICHLAND                                                 place of business
                                                   County




                                                                                                            Number        Street



                                                                                                            City                              State      ZIP Code




    5. Debtor's website (URL)



    6. Type of debtor                             ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  ❑
                                                  ❑ Partnership (excluding LLP)
                                                  ❑ Other. Specify:



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                                                                                           for Bankruptcy                                                           page 1
Debtor      KC TRANSPORT, LLC                                                                                Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                                ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .


    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑ Chapter 7
       debtor filing?
                                                ❑ Chapter 9
                                                ✔ Chapter 11. Check all that apply:
                                                ❑
                                                   ❑ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                           are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                      ✔ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                      ❑
                                                           business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                           statement, and federal income tax return or if all of these documents do not exist, follow the
                                                           procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                           proceed under Subchapter V of Chapter 11.
                                                      ❑ A plan is being filed with this petition.
                                                      ❑ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                           accordance with 11 U.S.C. § 1126(b).
                                                      ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                           Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                           Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                           (Official Form 201A) with this form.
                                                      ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                                ❑ Chapter 12
    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes. District                                     When                    Case number
                                                                                                           MM / DD / YYYY
     If more than 2 cases, attach a                      District                                   When                     Case number
     separate list.
                                                                                                           MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes. Debtor                                                               Relationship

     List all cases. If more than 1, attach a            District                                                            When
     separate list.                                                                                                                        MM / DD / YYYY
                                                         Case number, if known




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Debtor        KC TRANSPORT, LLC                                                                              Case number (if known)
             Name


  11. Why is the case filed in this       Check all that apply:
      district?
                                          ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          ❑
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                          ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have         ✔ No
                                          ❑
      possession of any real
      property or personal property
                                          ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                          Why does the property need immediate attention? (Check all that apply.)
      attention?                                    ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard?


                                                    ❑ It needs to be physically secured or protected from the weather.
                                                    ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                          (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                          options).
                                                    ❑ Other
                                                    Where is the property?
                                                                              Number        Street




                                                                              City                                         State    ZIP Code
                                                    Is the property insured?
                                                    ❑ No
                                                    ❑ Yes.        Insurance agency
                                                                  Contact name
                                                                  Phone


          Statistical and administrative information

         13. Debtor’s estimation of       Check one:
             available funds?             ❑ Funds will be available for distribution to unsecured creditors.
                                          ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                          ❑
                                             creditors.

         14. Estimated number of
                                           ✔ 1-49 ❑ 50-99
                                           ❑                                  ❑ 1,000-5,000 ❑ 5,001-10,000             ❑ 25,001-50,000 ❑ 50,000-100,000
             creditors                     ❑ 100-199 ❑ 200-999                ❑ 10,001-25,000                          ❑ More than 100,000

         15. Estimated assets              ❑ $0-$50,000                          ✔ $1,000,001-$10 million
                                                                                 ❑                                         ❑ $500,000,001-$1 billion
                                           ❑ $50,001-$100,000                    ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                           ❑ $100,001-$500,000                   ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                           ❑ $500,001-$1 million                 ❑ $100,000,001-$500 million               ❑ More than $50 billion




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                                                                                          for Bankruptcy                                                         page 3
Debtor        KC TRANSPORT, LLC                                                                                Case number (if known)
             Name



                                            ❑ $0-$50,000                              ✔ $1,000,001-$10 million
                                                                                      ❑                                        ❑ $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑ $50,001-$100,000                        ❑ $10,000,001-$50 million                ❑ $1,000,000,001-$10 billion
                                            ❑ $100,001-$500,000                       ❑ $50,000,001-$100 million               ❑ $10,000,000,001-$50 billion
                                            ❑ $500,001-$1 million                     ❑ $100,000,001-$500 million              ❑ More than $50 billion

           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                               I declare under penalty of perjury that the foregoing is true and correct.

                                                   Executed on     01/24/2025
                                                                   MM/ DD/ YYYY



                                               ✘ /S/ KENNETH COLE WIRTH                                                         KENNETH COLE WIRTH
                                                   Signature of authorized representative of debtor                 Printed name



                                                   Title



         18. Signature of attorney
                                               ✘                   /S/ JAMES A. PATTEN                              Date      01/24/2025
                                                   Signature of attorney for debtor                                           MM/ DD/ YYYY




                                                    JAMES A. PATTEN
                                                   Printed name


                                                    PATTEN PETERMAN BEKKEDAHL & GREEN
                                                   Firm name


                                                    2817 SECOND AVE N STE 300
                                                   Number          Street


                                                    BILLINGS                                                           MT              59101
                                                   City                                                               State            ZIP Code



                                                                                                                        APATTEN@PPBGLAW.COM
                                                   Contact phone                                                       Email address




                                                   Bar number                                                          State




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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                          DISTRICT OF MONTANA
                                                            BILLINGS DIVISION

IN RE: KC TRANSPORT, LLC                                                              CASE NO

                                                                                      CHAPTER 11




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date     01/24/2025             Signature                          /S/ KENNETH COLE WIRTH
                                                                  Kenneth Cole Wirth, Authorized Signer




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[ case number ]




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                  AXON DEVELOPMENT
                  CORPORATION
                  15 INNOVATION BLVD STE 210
                  SASKATOON, SK S7N 2X8



                  BMO HARRIS BANK
                  PO BOX 35707
                  BILLINGS, MT 59107-5707




                  EAGLE COUNTRY FORD
                  215 E MAIN ST
                  SIDNEY, MT 59270




                  FORD MOTOR CREDIT
                  COMPANY LLC
                  PO BOX 105704
                  ATLANTA, GA 30348-5704



                  FOUR SEASONS TOWING
                  812 WHITE OAK DR SPRING CREEK
                  SPRING CREEK, NV 89815




                  GM FINANCIAL
                  PO BOX 183593
                  ARLINGTON, TX 76096-3834




                  HUNT & SONS INC
                  275 12TH STREET
                  ELKO, NV 89801




                  INTERNAL REVENUE SERVICE
                  P.O. BOX 7346
                  PHILADELPHIA, PA 19101-7346




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                  KC SANDCASTLE LLC
                  101 10TH AVE
                  SIDNEY, MT 59270




                  KELTZ F HALL
                  PO BOX 662
                  SIDNEY, MT 59270




                  LOEB TERM SOLUTIONS LLC
                  8609 W BRYN MAWR STE 208
                  CHICAGO, IL 60631




                  MONTANA DEPARTMENT OF
                  REVENUE
                  BANKRUPTCY SPECIALIST
                  P.O. BOX 7701
                  HELENA, MT 59604-7701


                  NAPA AUTO PART OF SIDNEY
                  109 2ND AVE NE
                  SIDNEY, MT 59270




                  NAPA AUTO PARTS - ELKO
                  PO BOX 1425
                  TWIN FALLS, ID 83303-1425




                  NEVADA DEPARTMENT OF
                  EMPLOYMENT, TRAINING &
                  REHABILITION
                  500 EAST THIRD ST
                  CARSON CITY, NV 89713-0030


                  NORCO INC
                  PO BOX 35144
                  SEATTLE, WA 98124-5144




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                  PACCAR FINANCIAL CORP
                  1901 N ROSELLE RD STE 900
                  SCHAUMBURG, IL 60195-3187




                  SAFETY FIRST TRAINING AND
                  CONSULTING
                  1031 RAILROD STE 103B
                  ELKO, NV 89801



                  SEMI SERVICE INC
                  4285 WEST 1385 SOUTH
                  SALT LAKE CITY, UT 84104




                  STOCKMAN BANK OF
                  MONTANA
                  301 W HOLLY ST
                  SIDNEY, MT 59270



                  UNEMPLOYMENT INSURANCE
                  DIVISION
                  CONTRIBUTIONS BUREAU
                  PO BOX 6339
                  HELENA, MT 59604-6339


                  UNITED HERITAGE LIFE
                  INSURANCE
                  PO BOX 35109
                  SEATTLE, WA 98124-5109



                  VERDANT COMMERCIAL
                  CAPITAL, LLC
                  9987 CARVER RD STE 110
                  CINCINNATI, OH 45242



                  WALLWORK FINANCIAL
                  401 38TH ST SW
                  FARGO, ND 58103




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                  WESTERN TIRE
                  1601 S CENTRAL AVE
                  SIDNEY, MT 59270




                  YELLOWSTONE BANK
                  120 2ND STREET NW
                  SIDNEY, MT 59270




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